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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION




  STEPHEN PARKER,
                                                    CV 20-190-BLG-SPW
                       Petitioner,

  vs.                                                ORDER ADOPTING
                                                     MAGISTRATE'S FINDINGS
  RENE PENA;DAVID                                    AND RECOMMENDATIONS
  ROUNDSTONE;CALVIN WILSON;
  JACK NARVIN; ROCKY
  MOUNTAIN REGIONAL
  DETENTION FACILITY;
  ATTORNEY GENERAL OF THE
  STATE OF MONTANA,

                       Respondents.


         The United States Magistrate Judge filed Findings and Recommendations on

May 5,2021. (Doc. 7.) The Magistrate recommended that Stephen Parker's petition

be dismissed for failure to prosecute and a certificate of appealability be denied. {Id.

at 5).

         Pursuant to 28 U.S.C. § 636(b)(1), parties are required to file written

objections within 14 days of the filing of the Magistrate's Findings and

Recommendations. Federal Rule of Civil Procedure 6(d) extends that period by 3

days when a party is served by mail. No objections were filed. When neither party

objects, this Court reviews the Magistrate's Findings and Recommendations for

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